         Case 3:20-cv-00133-JCH Document 107 Filed 06/08/20 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT
 __________________________________
 JAKUB MADEJ                        CIVIL ACTION No. 3:20-cv-00133-JCH

        Plaintiff,
 v.
                                                   JURY TRIAL DEMANDED
 YALE UNIVERSITY et al.
                                                   JUNE 8, 2020
      Defendants.LY??
 __________________________________


       PLAINTIFF’S MOTION TO MODIFY CASE MANAGEMENT PLAN [DKT. 57]


       Plaintiff moves the Honorable Court to modify the Case Management Plan [Dkt. #57] in
the manner proposed below:

        Current Case Management Plan                         Proposed Modification
 Requests for admission are limited to twenty Requests for admission are not limited in
 (20) in number (including subsections) number.
 without further order of the court. Page 1.


       Good cause exists for the proposed modification. To date, parties made minimal progress

in paper discovery. In fact, defendants only recently submitted substantively defective answers to

plaintiff’s first set of requests for admission. Additional requests for admission will facilitate

meaningful discovery as plaintiff would fully ascertain defendants’ position on key issues

underlying the present case. Granting this motion will empower plaintiff to actively manage the

discovery process and meet the discovery cutoff date currently set for November 30, 2020.


       To date, defendants proved eager to provoke pointless disputes solely for delay. Limiting

how many requests plaintiff can propound on defendants will only prolong a just and inexpensive
         Case 3:20-cv-00133-JCH Document 107 Filed 06/08/20 Page 2 of 2



resolution of the present action. Granting this motion will also minimize the number of

depositions plaintiff will seek once the Court allows depositions to proceed, thus economizing both

parties’ resources.


       For the foregoing reasons, plaintiff respectfully requests that the Court modifies the case

management order in the manner proposed above.


                                                            Respectfully submitted,
                                                            /s/ Jakub Madej

                                                            Jakub Madej
                                                            65 Dwight St
                                                            New Haven, CT 06511
                                                            Telephone: (203) 928-8486
                                                            Facsimile: (646) 776-0066
                                                            Fax: (203) 902-0070
                                                            Email: j.madej@lawsheet.com
